                Case 24-11029-1-rel                       Doc 1        Filed 09/16/24 Entered 09/16/24 16:43:07                            Desc Main
                                                                       Document Page 1 of 78
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Northern District of New York

 Case number (if known):                                            Chapter      11                                                    ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Prime Capital Ventures, LLC


    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8       7 – 4    3   4    0    2    5   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   Attn: Manager

                                                   187 Wolf Road
                                                   Number          Street                                      Number        Street

                                                   Albany, NY 12205-1138
                                                   City                                   State   ZIP Code
                                                                                                               City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Albany                                                      place of business
                                                   County
                                                                                                               Paul A. Levine, Receiver

                                                                                                               677 Broadway
                                                                                                               Number        Street

                                                                                                               Albany, NY 12207
                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                             Limited Liability Company




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
               Case 24-11029-1-rel                  Doc 1       Filed 09/16/24 Entered 09/16/24 16:43:07                               Desc Main
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Debtor      Prime Capital Ventures, LLC                                                                      Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                           are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                      ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                           business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                           statement, and federal income tax return or if all of these documents do not exist, follow the
                                                           procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                           proceed under Subchapter V of Chapter 11.
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ❑ No
       by or against the debtor within the      ✔ Yes. District Northern District of New
                                                ❑                                                   When 12/21/2023        Case number 23-11302
       last 8 years?
                                                                 York                                     MM / DD / YYYY
     If more than 2 cases, attach a                               Northern District of New          When 5/14/2024          Case number 24-10531
     separate list.                                      District York                                     MM / DD / YYYY


  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes. Debtor Kris Daniel Roglieri
      or being filed by a business partner
      or an affiliate of the debtor?            ❑                                                                          Relationship Prior Member

     List all cases. If more than 1, attach a            District Northern District of New York                             When          2/15/2024
     separate list.                                                                                                                       MM / DD / YYYY
                                                         Case number, if known 24-10157




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 2
                Case 24-11029-1-rel           Doc 1        Filed 09/16/24 Entered 09/16/24 16:43:07                                Desc Main
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Debtor        Prime Capital Ventures, LLC                                                                Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.
                                      ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                      ❑
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                              ✔ 50-99
                                       ❑ 1-49 ❑                           ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ✔ $10,000,001-$50 million
                                                                             ❑                                         ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
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Debtor        Prime Capital Ventures, LLC                                                                      Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                 ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ✔ $100,000,001-$500 million
                                                                                      ❑                                        ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     09/16/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Christian H. Dribusch                                                         Christian H. Dribusch
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                       Manager



         18. Signature of attorney
                                               ✘                  /s/ Christian H. Dribusch                         Date      09/16/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Christian H. Dribusch
                                                   Printed name


                                                    The Dribusch Law Firm
                                                   Firm name


                                                    187 Wolf Rd Ste 300-20
                                                   Number          Street


                                                    Albany                                                             NY              12205-1138
                                                   City                                                               State            ZIP Code



                                                    (518) 588-8217                                                      cdribusch@chd-law.com
                                                   Contact phone                                                       Email address



                                                    507021                                                              NY
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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             RESOLUTION OF THE SOLE MEMBER AND MANAGER OF
                      PRIME CAPITAL VENTURES, LLC

        The undersigned, being the sole member and member manager for Prime Capital
Ventures, LLC (the "LLC"), adopts this resolution pursuant to the terms, provisions and
conditions contained in an Amended Operating Agreement (“AOA”) which AOA has been
approved pursuant to the laws of the State of Delaware and which AOA, among other things,
revokes a dissolution, if any, names the Bankruptcy Estate of Kris Daniel Roglieri as the sole
member, and appoints the trustee to the Bankruptcy Estate of Kris Daniel Roglieri to act as the
member manager of the LLC, do hereby certify that any meeting is waived and that the LLC adopts
the following resolutions:

       RESOLVED, that the LLC is authorized to file for relief under the provisions of Chapter
                 11 of Title 11 of the United States Code (the “Bankruptcy Code”) with the
                 United States Bankruptcy Court (the (“Bankruptcy Court”) for the Northern
                 District of York (the “District”) or such other district which may have
                 appropriate venue; and it is further

       RESOLVED, that the member manager of the LLC be and the same is hereby authorized,
                 directed and empowered to execute and deliver, on behalf of the LLC, the
                 bankruptcy petition and all documents and other instruments that may be
                 required in connection with the bankruptcy proceeding (the “Bankruptcy
                 Proceeding”), with such changes as said member manager may deem
                 necessary and to do all such other things, on behalf of the LLC, as may be
                 required in connection with the Bankruptcy Proceeding; and it is further

       RESOLVED, that the LLC is authorized to retain Klestadt Winters Jureller Southard &
                 Stevens, LLP as its counsel for the Bankruptcy Proceeding.

Dated: September 16, 2024

                                    /s/ Christian H. Dribusch
                                    Christian H. Dribusch, in the capacity as representative of
                                    the Bankruptcy Estate of Kris Daniel Roglieri, the sole
                                    member of Prime Capital Ventures, LLC
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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF NEW YORK
                                               ALBANY DIVISION

IN RE:                                                                               CHAPTER 11
Prime Capital Ventures, LLC

DEBTOR(S)                                                                            CASE NO


                                            LIST OF EQUITY SECURITY HOLDERS


Registered Name of Holder of Security               Class of Security          Number Registered    Kind of Interest
Last Known Address or Place of Business                                                             Registered

Bankruptcy Estate of Kris D. Roglieri               Membersip                  100%                 Ownership
187 Wolf Road, Suite 300-20, Albany, NY 12205

                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                         Manager                    of the                    Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 09/16/2024                                     Signature: /s/ Christian H. Dribusch
                                                                 Christian H. Dribusch, Manager
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                                                   United States Bankruptcy Court
                                                       Northern District of New York

In re   Prime Capital Ventures, LLC                                                                Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for             Prime Capital Ventures, LLC             in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             09/16/2024                                          /s/ Christian H. Dribusch
Date                                              Christian H. Dribusch
                                                  Signature of Attorney or Litigant
                                                  Counsel for     Prime Capital Ventures, LLC
                                                  Bar Number: 507021
                                                  The Dribusch Law Firm
                                                  187 Wolf Rd Ste 300-20
                                                  Albany, NY 12205-1138
                                                  Phone: (518) 227-0026
                                                  Email: cdribusch@chd-law.com




                                                                          1
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 Fill in this information to identify the case:

 Debtor name                      Prime Capital Ventures, LLC

 United States Bankruptcy Court for the:
                           Northern District of New York

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete            Name, telephone number,          Nature of the          Indicate if      Amount of unsecured claim
    mailing address, including zip code      and email address of             claim (for example,    claim is         If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                 trade debts, bank      contingent,      claim amount. If claim is partially secured, fill in
                                                                              loans, professional    unliquidated,    total claim amount and deduction for value of
                                                                              services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government                              Total claim, if     Deduction for    Unsecured
                                                                              contracts)                              partially           value of         claim
                                                                                                                      secured             collateral or
                                                                                                                                          setoff
1     1800 Park Avenue LLC                                                                           Contingent                                               $15,066,052.48
      1800 Park Avenue East                                                                          Disputed
      Renville, MN 56284                                                                             Unliquidated



2     526 Murfreesboro, LLC                                                                          Contingent                                               $13,246,937.76
      526 Murfreesboro Pike                                                                          Disputed
      Nashville, TN 37217                                                                            Unliquidated



3     Brightsmith Tulsa LLP                                                                          Contingent                                                $7,875,000.00
      1821 N. Collins Avenue                                                                         Disputed
      Okmulgee, OK 74447                                                                             Unliquidated



4     Commercial Capital Bond                                                                        Contingent                                                   $35,000.00
      133 Holiday Court #207                                                                         Disputed
      Franklin, TN 37067                                                                             Unliquidated



5     Compass-Charlotte 1031, LLC                                                                    Contingent                                               $51,305,136.00
      631 Dickenson Avenue                                                                           Disputed
      Greenville, NC 27834                                                                           Unliquidated



6     CoNestions Medical, Inc.                                                                       Contingent                                                $6,150,000.00
      150 N Wright Brothers Drive                                                                    Disputed
      Salt Lake City, UT 84116                                                                       Unliquidated



7     Eagle Rose Inc.                                                                                Contingent                                                $1,050,000.00
      4500 Eldorado Parkway                                                                          Disputed
      Mckinney, TX 75070                                                                             Unliquidated



8     ER Tennessee LLC                                                                               Contingent                                               $15,355,473.21
      381 Park Avenue Suite 1101                                                                     Disputed
      New York, NY 10016                                                                             Unliquidated




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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Debtor       Prime Capital Ventures, LLC                                                                      Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the          Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            claim (for example,    claim is         If the claim is fully unsecured, fill in only unsecured
                                          creditor contact                trade debts, bank      contingent,      claim amount. If claim is partially secured, fill in
                                                                          loans, professional    unliquidated,    total claim amount and deduction for value of
                                                                          services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                          government                              Total claim, if     Deduction for    Unsecured
                                                                          contracts)                              partially           value of         claim
                                                                                                                  secured             collateral or
                                                                                                                                      setoff
9     HCW Biologics Inc.                                                                         Contingent                                              $5,250,000.00
      3300 Corporate Way                                                                         Disputed
      Hollywood, FL 33025                                                                        Unliquidated



10 Hudson & Hudson LLC                                                                           Contingent                                              $5,250,000.00
   206 West College Street Suite 12                                                              Disputed
   Carbondale, IL 62901                                                                          Unliquidated



11 Keeler Mercedes Benz                                                                          Contingent                                                  $30,000.00
   1111 Troy Schenectady Road                                                                    Disputed
   Latham, NY 12110                                                                              Unliquidated



12 Motos America Inc.                                                                            Contingent                                              $3,000,000.00
   3131 W. 2210 S.                                                                               Disputed
   West Valley City, UT 84119                                                                    Unliquidated



13 Newlight Technologies, Inc.                                                                   Contingent                                              $7,762,603.44
   14382 Astronautics Drive                                                                      Disputed
   Huntington Beach, CA 92647                                                                    Unliquidated



14 Onward Holdings Ltd.                                                                          Contingent                                             $14,000,000.00
   5152 N. Edgewood Drive Suite                                                                  Disputed
   375                                                                                           Unliquidated
   Provo, UT 84604

15 SP Harbor QOZB LP                                                                             Contingent                                              $2,500,000.00
   550 West B Street 4th Floor                                                                   Disputed
   San Diego, CA 92101                                                                           Unliquidated



16 SQRL Holdings, LLC                                                                            Contingent                                              $4,462,500.00
   27 Rahling Circle Suite C                                                                     Disputed
   Little Rock, AR 72223                                                                         Unliquidated



17 SRA - CH Richard I LLC                                                                        Contingent                                             $17,366,250.00
   4505 Pacific Highway East Suite                                                               Disputed
   C-2                                                                                           Unliquidated
   Fife, WA 98424

18 The Wallick Family 2022 Trust                                                                 Contingent                                                $175,000.00
   PO Box 267                                                                                    Disputed
   Okmulgee, OK 74447                                                                            Unliquidated



19 Toro Real Estate Partners                                                                     Contingent                                                  $50,000.00
   410 Jericho Turnpike Suite 220                                                                Disputed
   Jericho, NY 11753                                                                             Unliquidated



20 Truss Financial LLC                                                                           Contingent                                              $3,900,000.00
   4500 West Nyack Road Suite 310                                                                Disputed
   West Nyack, NY 10994                                                                          Unliquidated



Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 2
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               GLOBAL NOTES, METHODOLOGY AND SPECIFIC
          DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                          Introduction

        On December 19, 2023 (“Petition Date 1”), Compass-Charlotte 1031, LLC, 526
Murfreesboro, LLC, and Newlight Technologies, Inc., filed an involuntary bankruptcy petition
against Prime Capital Ventures, LLC (the “Debtor”) under chapter 7 of title 11 of the United States
Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
of New York (the “Court”), which case was pending under Case No. 23-11302 (REL) (the “Case
No. 1”). Christian H. Dribusch was appointed interim chapter 7 trustee in Case No. 1, but on
January 9, 2024, the Court entered an order granting the petitioning creditors’ motion to dismiss
the case [Case No. 1, Dkt. No. 87].

       On January 12, 2024, Compass-Charlotte 1031, LLC commenced an action in the United
States District Court for the Northern District of New York (the “District Court”) captioned
Compass-Charlotte 1031, LLC v. Prime Capital Ventures, LLC, et al., Case No. 24-CV-55
(MAD/CFH) (N.D.N.Y.) (the “Receivership Action”). On January 24, 2024, the District Court
entered a Memorandum-Decision and Order that, among other things, appointed Paul Levine as
the permanent receiver for the Debtor and related defendants (the “Receiver”).

        On February 15, 2024, Kris Daniel Roglieri (“Roglieri”), the principal of the Debtor, filed
a voluntary bankruptcy petition under subchapter V of chapter 11 of the Bankruptcy Code in this
Court commencing Case No. 24-10157 (REL) (the “Roglieri Case”). On May 15, 2024, the Court
entered an order converting the Roglieri Case to one under chapter 7 [Roglieri Case Dkt. No. 159].
Christian H. Dribusch (the “Roglieri Trustee”) was appointed interim chapter 7 trustee of
Roglieri’s estate and has since qualified and is currently serving as permanent trustee therein.

       On May 14, 2024, the Debtor, by and through the District Court-Appointed Receiver, filed
a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court, commencing
Case No. 24-10531 (REL) (“Case No. 2”). On July 23, 2024, this Court entered a memorandum
decision and order dismissing Case No. 2 [Case No. 2 Dkt. No. 85].

        The Receivership Action is currently stayed due to the pendency of appeals and the
Receiver has been hamstrung in his ability to collect and liquidate the Debtor’s assets. The
Roglieri Trustee, who is in possession and control of all membership interests of the Debtor by
and through Roglieri’s bankruptcy estate, has exercised the necessary powers and executed the
necessary documents to assume control of the Debtor. The Roglieri Trustee, in his capacity as the
authorized agent for the Debtor, has filed or is filing contemporaneously herewith a voluntary
bankruptcy petition on behalf of the Debtor for relief under chapter 11 of the Bankruptcy Code
(“Case No. 3”). The Roglieri Trustee intends to use Case No. 3 as a legitimate and potentially
only viable method of collecting the Debtor’s assets, pursuing claims on behalf of the Debtor’s
estate, and distributing those assets to the Debtor’s numerous and varied creditors.




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        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of the Debtor’s Schedules
of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (“Statements” or
“SOFA”). The Global Notes should be referred to, considered, and reviewed in connection with
any review of the Schedules and SOFA.

       The Schedules and SOFAs do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of the Debtor (whether
publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Roglieri
Trustee’s reasonable efforts to report the assets and liabilities of the Debtor.

        In preparing the Schedules and Statements, the Roglieri Trustee relied upon information
derived from the Debtor’s available books and records, information gathered during his short
tenure as interim chapter 7 trustee of the Debtor, and documents and information provided to him
by the Receiver. Although the Roglieri Trustee has made reasonable efforts to gather, secure and
review the Debtor’s books and records, the Roglieri Trustee is not satisfied at the time of this filing
that he has a complete set of books and records of the Debtor. Parties should be advised that
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.

        The Roglieri Trustee, his attorneys, and proposed attorneys for the Debtor, do not guarantee
or warrant the accuracy or completeness of the data that is provided in the Schedules and
Statements, and shall not be liable for any loss or injury arising out of or caused in whole or in part
by the acts, omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained in the Schedules
and Statements. Except as expressly required by the Bankruptcy Code, the Roglieri Trustee
expressly does not undertake any obligation to update, modify, revise, or re-categorize the
information provided in the Schedules and Statements or to notify any third party should the
information be updated, modified, revised, or re-categorized. The Roglieri Trustee, on behalf of
himself or the Debtor’s officers, employees, agents, and advisors, disclaims any liability to any
third party arising out of or related to the information contained in the Schedules and Statements
and reserve all rights with respect thereto.

        In reviewing and signing the Schedules and Statements, this Roglieri Trustee relied upon
the efforts, statements, and representations of the Debtor’s creditors, former professionals, and the
Receiver and his professionals. The Roglieri Trustee has not (and could not have) personally
verified the accuracy of each such statement and representation, including, for example, statements
and representations concerning amounts owed to creditors and their addresses.

                              Global Notes and Overview of Methodology

   1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
      and accurate Schedules and Statements; however, inadvertent errors or omissions may


                                                  2
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      exist. The Roglieri Trustee reserves all rights to amend or supplement the Schedules and
      Statements from time to time, in all respects, as may be necessary or appropriate, including,
      without limitation, the right to amend the Schedules and Statements with respect to claim
      (“Claim”) description, designation; dispute or otherwise assert offsets or defenses to any
      Claim reflected in the Schedules and Statements as to amount, liability, priority, status, or
      classification; subsequently designate any Claim as “disputed,” “contingent,” or
      “unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of
      any Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
      “contingent,” or “unliquidated” does not constitute an admission by the Roglieri Trustee
      that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a
      Claim does not constitute an admission of liability by the Roglieri Trustee against which
      the Claim is listed or against the Debtor. Furthermore, nothing contained in the Schedules
      and Statements shall constitute a waiver of rights with respect to the Debtor’s chapter 11
      case, including, without limitation, issues involving Claims, defenses, equitable
      subordination, recharacterization, and/or causes of action arising under the provisions of
      chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover
      assets or avoid transfers. Any specific reservation of rights contained elsewhere in the
      Global Notes does not limit in any respect the general reservation of rights contained in
      this paragraph. Notwithstanding the foregoing, the Roglieri Trustee is not hereby
      committing or obligating himself to update the Schedules and Statements.

   2. Description of Case and “as of” Information Date. The asset information provided in
      the Schedules and Statements, except as otherwise noted, represents the asset data of the
      Debtor as of the close of business on the date of filing, and the liability information
      provided herein, except as otherwise noted, represents the liability data from prior filings.

   3. Recharacterization. Notwithstanding the Roglieri Trustee’s reasonable efforts to properly
      characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
      unexpired leases, and other items reported in the Schedules and Statements, the Roglieri
      Trustee may, nevertheless, have improperly characterized, classified, categorized,
      designated, or omitted certain items. Accordingly, the Roglieri Trustee reserves all of his
      rights to recharacterize, reclassify, recategorize, further designate, add, or delete items
      reported in the Schedules and Statements at a later time as is necessary or appropriate as
      additional information becomes available, including, without limitation, whether contracts
      or leases listed herein were deemed executory or unexpired as of the Petition Date and
      remain executory and unexpired postpetition.

   4. Executory Contracts and Unexpired Leases. The Debtor’s known executory contracts
      and unexpired leases have been set forth in Schedule G.

   5. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
      E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
      “executory” or “unexpired,” does not constitute an admission by the Roglieri Trustee of
      the legal rights of the claimant, or a waiver of the Roglieri Trustee’s rights to recharacterize
      or reclassify such Claims or contracts or leases or to setoff of such Claims.



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   6. Claims Description. Schedules D and E/F permit the Roglieri Trustee to designate a Claim
      as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim as
      “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
      Roglieri Trustee that such amount is not “disputed,” “contingent,” or “unliquidated,” or
      that such Claim is not subject to objection. Moreover, listing a Claim does not constitute
      an admission of liability by the Roglieri Trustee. For the avoidance of doubt, given the
      Roglieri Trustee’s present inability to verify the accuracy of the Debtor’s books and
      records, the Roglieri Trustee has determined to designate certain claims as “disputed.” The
      overall effect of this determination will be that creditors are required to file proofs of their
      claims by a bar date to be established in this bankruptcy case. In the Roglieri Trustee’s
      view, a review and reconciliation of such proofs of claim, if and when filed, will be the
      most efficient means of verification of such claims and interests for this bankruptcy case.

   7. Causes of Action. Despite reasonable efforts to identify all known assets, the Roglieri
      Trustee may not have listed all of the Debtor’s causes of action or potential causes of action
      against third-parties as assets in the Schedules and Statements, including, without
      limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
      Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers. The
      Roglieri Trustee reserves all of his rights with respect to any cause of action (including
      avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or
      recoupment and any Claim on contracts or for breaches of duties imposed by law or in
      equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
      judgment, account, defense, power, privilege, license, and franchise of any kind or
      character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
      suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
      unsecured, whether asserted directly or derivatively, whether arising before, on, or after
      the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other theory
      of law (collectively, “Causes of Action”) they may have, and neither these Global Notes
      nor the Schedules and Statements shall be deemed a waiver of any Claims or Causes of
      Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.

   8. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
      the Global Notes shall control.

   9. Potential Intercompany Claims. The Roglieri Trustee and his professionals are in the
      process of reviewing and reconciling the Debtor’s books and records to gain a clearer
      picture of the prepetition intercompany claims, if any, that may exist between the Debtor’s
      estate. Currently, no intercompany claim is listed on the Debtor’s Schedules or Statements.




                                                 4
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 Fill in this information to identify the case:

  Debtor Name       Prime Capital Ventures, LLC

  United States Bankruptcy Court for the:                Northern            District of    New York
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. CitiBank, N.A.                                     Checking account                          6    9    4    5                           $751,385.21

         3.2. M&T Bank                                           Savings account                           5    9    5    9                         $1,128,018.85

 4.      Other cash equivalents (Identify all)

         4.1    M&T Bank (Escrow)                                                                                                                     $100,000.00


 5.      Total of Part 1
                                                                                                                                                  $1,979,404.06
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
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                 Name




         7.2


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1     Beazley (Insurance for Residence)                                                                                                    unknown


 9.      Total of Part 2
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:        Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:        Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
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         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:         Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


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         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 39.     Office furniture



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 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 2023 Mercedes-Benz Maybach S680Z4 / Seized by the                                unknown                                        $449,672.00
                FBI/USDOJ


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 5
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         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
                                                                                                                                               $449,672.00
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:          Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 Residence / 600 Linkhorn Drive                   Fee Simple                       unknown        Realtor.com                     $4,023,154.00
                Virginia Beach, VA 23451


 56.     Total of Part 9
                                                                                                                                             $4,023,154.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                    page 6
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 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

         Brightsmith Tulsa LLP LOC                                $7,875,000.00       –                unknown                  =   ➔                unknown
                                                               Total face amount          doubtful or uncollectible amount

         Hudson & Hudson LLC LOC                                  $5,250,000.00       –                unknown                  =   ➔                unknown
                                                               Total face amount          doubtful or uncollectible amount




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                    page 7
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               Name




         SRA - CH Richland LLC LOC                               $17,366,250.00    –                unknown                  =   ➔          unknown
                                                               Total face amount       doubtful or uncollectible amount

         Indigo Phammaceutical LLC LOC                           $19,100,000.00    –                unknown                  =   ➔          unknown
                                                               Total face amount       doubtful or uncollectible amount

         Caruso Home Builders LOC                                 $2,400,000.00    –                unknown                  =   ➔          unknown
                                                               Total face amount       doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                      Tax year

                                                                                                      Tax year

                                                                                                      Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)

         Claims against parties with knowledge of, association with, participation in, or recipients of Debtor's
         alleged fraudulent activities                                                                                                      unknown

         Nature of claim              Contract; Tort; Other

         Amount requested                      unknown

         Prime Capital Ventures -vs- Reign Financial International Inc., USDC, NDNY                                                         unknown

         Nature of claim              Potential avoidable transfers and other claims

         Amount requested                      unknown


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership

         Richard Mille Skull Watch                                                                                                          unknown


 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.




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 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                    Current value of                          Current value
                                                                                                             personal property                         of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                            $1,979,404.06

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                       unknown

 82.     Accounts receivable. Copy line 12, Part 3.

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $449,672.00


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                 $4,023,154.00


 89.     Intangibles and intellectual property. Copy line 66, Part 10.

 90.     All other assets. Copy line 78, Part 11.                                                        +                    unknown


 91.     Total. Add lines 80 through 90 for each column............................91a.                                $2,429,076.06          + 91b.       $4,023,154.00



 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................       $6,452,230.06




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                                    page 9
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 Fill in this information to identify the case:

     Debtor name     Prime Capital Ventures, LLC

     United States Bankruptcy Court for the:                Northern                 District of        New York
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         JHM Lending Ventures LLC                            Residence                                                              $4,300,000.00              $4,023,154.00

        Creditor’s mailing address                           Describe the lien

         4529 Wayland Drive                                  Judgment Lien

         Nashville, TN 37215                                 Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Creditor’s email address, if known

                                                             Is anyone else liable on this claim?
        Date debt was incurred                               ✔ No
                                                             ❑
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of account
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest in
        the same property?                                   ✔ Contingent
                                                             ❑
        ❑ No                                                 ❑ Unliquidated
        ✔ Yes. Specify each creditor, including this
        ❑                                                    ✔ Disputed
                                                             ❑
                 creditor, and its relative priority.
                 1) Virginia Beach City Treasurer; 2)
                 JHM Lending Ventures LLC




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $4,339,525.59
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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   Part 1:        Additional Page                                                                                     Column A                    Column B
                                                                                                                      Amount of claim             Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value     that supports this
 previous page.                                                                                                       of collateral.              claim

2.2 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      Virginia Beach City Treasurer                     Residence                                                                  $39,525.59         $4,023,154.00

     Creditor’s mailing address                         Describe the lien

      Municipal Center, Building 1                      2023 and 2024 real property taxes

      2401 Courthouse Drive                             Is the creditor an insider or related party?

      Virginia Beach, VA 23456
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes
     Creditor’s email address, if known                 Is anyone else liable on this claim?
                                                        ✔ No
                                                        ❑
     Date debt was incurred                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Last 4 digits of account                           As of the petition filing date, the claim is:
                                                        Check all that apply.
     number
                                                        ❑ Contingent
     Do multiple creditors have an interest in
     the same property?
                                                        ❑ Unliquidated
                                                        ❑ Disputed
     ❑ No
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 4
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  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 Spotts Fain PC
 411 East Franklin Street Suite 600                                                                         Line 2. 1
 Richmond, VA 23219

 JHM Lending Ventures, LLC
 1457 Medinah Lane                                                                                          Line 2. 1
 Murrells Inlet, SC 29576

 Balch & Bingham, LLP
 188 East Capitol Street Suite 1400                                                                         Line 2. 1
 Jackson, MS 39201

 B and R Acquisition Partners LLC
 PO Box 1                                                                                                   Line 2. 1
 Essex, MO 63846

 Bradley, LLP
 Attn: Patrick Everman
                                                                                                            Line 2. 1
 188 E. Capitol Street Suite 1000
 Jackson, MS 39201



                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 4
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 Name and address                                                                                  On which line in Part 1   Last 4 digits of
                                                                                                   did you enter the         account number
                                                                                                   related creditor?         for this entity



                                                                                                  Line 2.




Form 206D                        Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                     page 4 of 4
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 Fill in this information to identify the case:

 Debtor name                      Prime Capital Ventures, LLC

 United States Bankruptcy Court for the:
                           Northern District of New York

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      $1,574,375.00                 $1,574,375.00
                                                           Check all that apply.
       Internal Revenue Service
                                                           ✔ Contingent
                                                           ❑
       Bankruptcy                                          ✔ Unliquidated
                                                           ❑
       P.O. Box 7346                                       ✔ Disputed
                                                           ❑
       Philadelphia, PA 19101-7346                         Basis for the Claim:

       Date or dates debt was incurred                      Statutory

                                                           Is the claim subject to offset?
                                                           ❑ No
       Last 4 digits of account                            ✔ Yes
                                                           ❑
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       unknown
                                                           Check all that apply.
                                                           ❑ Contingent
       NYS Deptment of Taxation & Finance
       Bankruptcy Section                                  ❑ Unliquidated
       PO Box 5300                                         ❑ Disputed
       Albany, NY 12202                                    Basis for the Claim:

       Date or dates debt was incurred                      Statutory

                                                           Is the claim subject to offset?
                                                           ✔ No
                                                           ❑
       Last 4 digits of account                            ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 17
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 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $15,066,052.48
                                                                            Check all that apply.
       1800 Park Avenue LLC
                                                                            ✔ Contingent
                                                                            ❑
       1800 Park Avenue East                                                ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Renville, MN 56284
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $13,246,937.76
                                                                            Check all that apply.
       526 Murfreesboro, LLC
                                                                            ✔ Contingent
                                                                            ❑
       526 Murfreesboro Pike                                                ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Nashville, TN 37217
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ✔ Yes
                                                                            ❑
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $20,000.00
                                                                            Check all that apply.
       Apartment Worth, LLC
                                                                            ✔ Contingent
                                                                            ❑
       845 15th Street Suite 103                                            ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       San Diego, CA 92101
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ✔ Yes
                                                                            ❑
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
3.4                                                                         Check all that apply.
       Barclay Damon LP
                                                                            ✔ Contingent
                                                                            ❑
       125 E. Jefferson Street                                              ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
       Syracuse, NY 13202
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ✔ Yes
                                                                            ❑




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 17
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3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $30,000,000.00
                                                                       Check all that apply.
      Berone Capital Fund, L.P.
                                                                       ✔ Contingent
                                                                       ❑
      3595 Canton Road                                                 ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
      Marietta, GA 30066
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ❑ No
      Last 4 digits of account number                                  ✔ Yes
                                                                       ❑
3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $200,000.00
                                                                       Check all that apply.
      Bond Schoeneck & King, PLLC
                                                                       ✔ Contingent
                                                                       ❑
      Attn: Stephen Donato, Esq.                                       ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
      One Lincoln Center
                                                                       Basis for the claim: Legal Services
      Syracuse, NY 13202
                                                                       Is the claim subject to offset?
                                                                       ❑ No
      Date or dates debt was incurred                                  ✔ Yes
                                                                       ❑
      Last 4 digits of account number

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,875,000.00
                                                                       Check all that apply.
      Brightsmith Tulsa LLP
                                                                       ✔ Contingent
                                                                       ❑
      1821 N. Collins Avenue                                           ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
      Okmulgee, OK 74447
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ❑ No
      Last 4 digits of account number                                  ✔ Yes
                                                                       ❑
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.8                                                                    Check all that apply.
      CAC Realty LLC
                                                                       ✔ Contingent
                                                                       ❑
      3 Kelton Place                                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
      Englishtown, NJ 07726
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ❑ No
      Last 4 digits of account number                                  ✔ Yes
                                                                       ❑




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 17
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3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $16,594,117.64
                                                                       Check all that apply.
         Camshaft CRE 1 LLC
                                                                       ✔ Contingent
                                                                       ❑
         16850 Collins Avenue #112408                                  ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         North Miami Beach, FL 33160
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $6,006,732.47
                                                                       Check all that apply.
         Caruso Home Builders, LLC
                                                                       ✔ Contingent
                                                                       ❑
         19 Railroad Place Suite 201                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Saratoga Springs, NY 12866
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         CBL Investments LLC
                                                                       ✔ Contingent
                                                                       ❑
         CBL Center, Suite 500                                         ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         2030 Hamilton Place Blvd.
                                                                       Basis for the claim:
         Chattanooga, TN 37421
                                                                       Is the claim subject to offset?
                                                                       ❑ No
         Date or dates debt was incurred                               ✔ Yes
                                                                       ❑
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $35,000.00
3.12                                                                   Check all that apply.
         Commercial Capital Bond
                                                                       ✔ Contingent
                                                                       ❑
         133 Holiday Court #207                                        ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Franklin, TN 37067
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $51,305,136.00
                                                                       Check all that apply.
         Compass-Charlotte 1031, LLC
                                                                       ✔ Contingent
                                                                       ❑
         631 Dickenson Avenue                                          ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Greenville, NC 27834
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $6,150,000.00
                                                                       Check all that apply.
         CoNestions Medical, Inc.
                                                                       ✔ Contingent
                                                                       ❑
         150 N Wright Brothers Drive                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Salt Lake City, UT 84116
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Cullen and Dykman
                                                                       ✔ Contingent
                                                                       ❑
         One Battery Park Plaza 34th Floor                             ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10004
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $1,050,000.00
3.16                                                                   Check all that apply.
         Eagle Rose Inc.
                                                                       ✔ Contingent
                                                                       ❑
         4500 Eldorado Parkway                                         ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Mckinney, TX 75070
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $15,355,473.21
                                                                       Check all that apply.
         ER Tennessee LLC
                                                                       ✔ Contingent
                                                                       ❑
         381 Park Avenue Suite 1101                                    ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10016
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $8,280.00
                                                                       Check all that apply.
         Girvin & Ferlazzo, PC
                                                                       ✔ Contingent
                                                                       ❑
         20 Corporate Woods Boulevard                                  ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Albany, NY 12211
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Goose Creek Apartments
                                                                       ✔ Contingent
                                                                       ❑
         900 Channing Way                                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Goose Creek, SC 29445
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $5,250,000.00
3.20                                                                   Check all that apply.
         HCW Biologics Inc.
                                                                       ✔ Contingent
                                                                       ❑
         3300 Corporate Way                                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Hollywood, FL 33025
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           page 6 of 17
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 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,083,205.79
                                                                       Check all that apply.
         Hogan Lovells US LLP
                                                                       ✔ Contingent
                                                                       ❑
         390 Madison Avenue                                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10017
                                                                       Basis for the claim: Legal Services

         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,250,000.00
                                                                       Check all that apply.
         Hudson & Hudson LLC
                                                                       ✔ Contingent
                                                                       ❑
         206 West College Street Suite 12                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Carbondale, IL 62901
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Indigo Pharmaceutical LLC
                                                                       ✔ Contingent
                                                                       ❑
         270 South Martin Luther King Blvd.                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Las Vegas, NV 89106
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $30,000.00
3.24                                                                   Check all that apply.
         Keeler Mercedes Benz
                                                                       ✔ Contingent
                                                                       ❑
         1111 Troy Schenectady Road                                    ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Latham, NY 12110
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Ketan Masters
                                                                       ✔ Contingent
                                                                       ❑
         2601 Oates Lane                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Arlington, TX 76006
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Lofts Phases 2 & 3 LLC
                                                                       ✔ Contingent
                                                                       ❑
         9033 East Easter Place Suite 112                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Englewood, CO 80112
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,000,000.00
                                                                       Check all that apply.
         Motos America Inc.
                                                                       ✔ Contingent
                                                                       ❑
         3131 W. 2210 S.                                               ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         West Valley City, UT 84119
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $7,762,603.44
3.28                                                                   Check all that apply.
         Newlight Technologies, Inc.
                                                                       ✔ Contingent
                                                                       ❑
         14382 Astronautics Drive                                      ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Huntington Beach, CA 92647
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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             Name




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3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $14,000,000.00
                                                                       Check all that apply.
         Onward Holdings Ltd.
                                                                       ✔ Contingent
                                                                       ❑
         5152 N. Edgewood Drive Suite 375                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Provo, UT 84604
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $35,370.00
                                                                       Check all that apply.
         Paul A. Levine, Receiver
                                                                       ✔ Contingent
                                                                       ❑
         c/o Lemery Greisler, LLP                                      ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         677 Broadway 8th Floor
                                                                       Basis for the claim: Receiver Services
         Albany, NY 12207
                                                                       Is the claim subject to offset?
                                                                       ❑ No
         Date or dates debt was incurred                               ✔ Yes
                                                                       ❑
         Last 4 digits of account number

3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $10,658,259.84
                                                                       Check all that apply.
         Piper Capital Funding LLC
                                                                       ✔ Contingent
                                                                       ❑
         95 Fairway Drive                                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Harrisburg, IL 62946
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               unknown
3.32                                                                   Check all that apply.
         PTR Prime LLC
                                                                       ✔ Contingent
                                                                       ❑
         1501 S. Mopac Expressway Suite 220                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78746
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9 of 17
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3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Redeem - 18 S Main LLC
                                                                       ✔ Contingent
                                                                       ❑
         1779 Wells Branch Parkway Suite 110B-371                      ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78727
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Redeem - Temple Courtyard LLC
                                                                       ✔ Contingent
                                                                       ❑
         1779 Wells Branch Parkway Suite 110B-371                      ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Austin, TX 78728
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Scott and Mary Lee Wallick
                                                                       ✔ Contingent
                                                                       ❑
         1800 N. Collins Avenue                                        ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Okmulgee, OK 74447
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               unknown
3.36                                                                   Check all that apply.
         Seyburn Law PLLC
                                                                       ✔ Contingent
                                                                       ❑
         7475 Franklin Road                                            ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Bloomfield Hills, MI 48301
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $179,508.71
                                                                       Check all that apply.
         Sheppard Mullin Richter & Hampton LLP
                                                                       ✔ Contingent
                                                                       ❑
         333 South Hope Street 43rd Floor                              ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Los Angeles, CA 90071
                                                                       Basis for the claim: Legal Services

         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Solray Inc.
                                                                       ✔ Contingent
                                                                       ❑
         345 Highway 9 South Suite 388                                 ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Englishtown, NJ 07726
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,500,000.00
                                                                       Check all that apply.
         SP Harbor QOZB LP
                                                                       ✔ Contingent
                                                                       ❑
         550 West B Street 4th Floor                                   ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         San Diego, CA 92101
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $4,462,500.00
3.40                                                                   Check all that apply.
         SQRL Holdings, LLC
                                                                       ✔ Contingent
                                                                       ❑
         27 Rahling Circle Suite C                                     ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Little Rock, AR 72223
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $17,366,250.00
                                                                       Check all that apply.
         SRA - CH Richard I LLC
                                                                       ✔ Contingent
                                                                       ❑
         4505 Pacific Highway East Suite C-2                           ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Fife, WA 98424
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         Starsight IO, Inc.
                                                                       ✔ Contingent
                                                                       ❑
         4425 Fortran Drive Suite F                                    ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         San Jose, CA 95134
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
                                                                       Check all that apply.
         The Pecora LLC
                                                                       ✔ Contingent
                                                                       ❑
         199 Lee Avenue #745                                           ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Brooklyn, NY 11211
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $175,000.00
3.44                                                                   Check all that apply.
         The Wallick Family 2022 Trust
                                                                       ✔ Contingent
                                                                       ❑
         PO Box 267                                                    ✔ Unliquidated
                                                                       ❑
                                                                       ✔ Disputed
                                                                       ❑
         Okmulgee, OK 74447
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ❑ No
         Last 4 digits of account number                               ✔ Yes
                                                                       ❑




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3.45 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $50,000.00
                                                                   Check all that apply.
         Toro Real Estate Partners
                                                                   ✔ Contingent
                                                                   ❑
         410 Jericho Turnpike Suite 220                            ✔ Unliquidated
                                                                   ❑
                                                                   ✔ Disputed
                                                                   ❑
         Jericho, NY 11753
                                                                   Basis for the claim:
         Date or dates debt was incurred                           Is the claim subject to offset?
                                                                   ❑ No
         Last 4 digits of account number                           ✔ Yes
                                                                   ❑
3.46 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               $3,900,000.00
                                                                   Check all that apply.
         Truss Financial LLC
                                                                   ✔ Contingent
                                                                   ❑
         4500 West Nyack Road Suite 310                            ✔ Unliquidated
                                                                   ❑
                                                                   ✔ Disputed
                                                                   ❑
         West Nyack, NY 10994
                                                                   Basis for the claim:
         Date or dates debt was incurred                           Is the claim subject to offset?
                                                                   ❑ No
         Last 4 digits of account number                           ✔ Yes
                                                                   ❑
3.47 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:               unknown
                                                                   Check all that apply.
         Watermark Capital Group
                                                                   ✔ Contingent
                                                                   ❑
         185 Marcy Avenue                                          ✔ Unliquidated
                                                                   ❑
                                                                   ✔ Disputed
                                                                   ❑
         Brooklyn, NY 11211
                                                                   Basis for the claim:
         Date or dates debt was incurred                           Is the claim subject to offset?
                                                                   ❑ No
         Last 4 digits of account number                           ✔ Yes
                                                                   ❑




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 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Ainsworth Gorkin PLLC                                                       Line 3.46

         111 John Street Suite 1210                                                  ❑ Not listed. Explain
         New York, NY 10038

 4.2     Buchalter, P.C.                                                             Line 3.29

         60 E. So. Temple Suite 1200                                                 ❑ Not listed. Explain
         Salt Lake City, UT 84111

 4.3     Camshaft CRE 1 LLC                                                          Line 3.9

         950 Brickell Bay Dr. Suite 5107                                             ❑ Not listed. Explain
         Miami, FL 33131

 4.4     Certilman Balin                                                             Line 3.5

         Attn: Robert Nosek                                                          ❑ Not listed. Explain
         90 Merrick Avenue
         East Meadow, NY 11554

 4.5     Chapman and Cutler                                                          Line 3.17

         Attn: Joseph P. Lombardo                                                    ❑ Not listed. Explain
         320 South Canal Street 27th Floor
         Chicago, IL 60609

 4.6     Chapman and Cutler LLP                                                      Line 3.17

         1270 Avenue of the Americas                                                 ❑ Not listed. Explain
         New York, NY 10020

 4.7     CHDB Law LLP                                                                Line 3.1

         Attn: Chad Meisen                                                           ❑ Not listed. Explain
         1400 E. Southern Avenue Suite 400
         Tempe, AZ 85282




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 Part 3: Additional Page

 4.8     Commercial Capital BIDCO                                      Line 3.12

         256 Seaboard Lane Suite 101 B                                 ❑ Not listed. Explain
         Franklin, TN 37067

 4.9     Gray Robinson, P.A.                                           Line 3.20

         Steven J. Solomon                                             ❑ Not listed. Explain
         333 SE 2nd Ave. Suite 3200
         Miami, FL 33131

 4.10    Harris Beach PLLC                                             Line 3.10

         Attn: Brian Roy                                               ❑ Not listed. Explain
         333 W. Washington Street Suite 200
         Syracuse, NY 13202

 4.11    Kye Law Group, P.C.                                           Line 3.39

         201 Old Country Road Suite 120                                ❑ Not listed. Explain
         Melville, NY 11747

 4.12    Nixon Peabody LLP                                             Line 3.14

         Attn: Christopher Desiderio                                   ❑ Not listed. Explain
         55 W 46th Street
         New York, NY 10036

 4.13    Nolan Heller Kaufman LLP                                      Line 3.2

         80 State Street 11th Floor                                    ❑ Not listed. Explain
         Albany, NY 12207

 4.14    Nolan Heller Kaufman LLP                                      Line 3.13

         80 State Street 11th Floor                                    ❑ Not listed. Explain
         Albany, NY 12207

 4.15    Nolan Heller Kaufman LLP                                      Line 3.28

         80 State Street 11th Floor                                    ❑ Not listed. Explain
         Albany, NY 12207

 4.16    Parker Poe                                                    Line 3.13

         620 South Tryon Street Suite 800                              ❑ Not listed. Explain
         Charlotte, NC 28202

 4.17    Sage Estate Malta, LLC                                        Line 3.10

         19 Railroad Pl Ste 201                                        ❑ Not listed. Explain
         Saratoga Spgs, NY 12866-2318

 4.18    White and Williams                                            Line 3.31

         Attn: Travis Powers                                           ❑ Not listed. Explain
         7 Times Square
         New York, NY 10036

 4.19    Wuersch & Gering                                              Line 3.40

         100 Wall Street 10th Floor                                    ❑ Not listed. Explain
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 4.20    Nolan Heller Kaufman LLP                                      Line 3.28

         80 State Street 11th Floor                                    ❑ Not listed. Explain
         Albany, NY 12207

 4.21    Parker Poe                                                    Line 3.13

         620 South Tryon Street Suite 800                              ❑ Not listed. Explain
         Charlotte, NC 28202

 4.22    Sage Estate Malta, LLC                                        Line 3.10

         19 Railroad Pl Ste 201                                        ❑ Not listed. Explain
         Saratoga Spgs, NY 12866-2318

 4.23    White and Williams                                            Line 3.31

         Attn: Travis Powers                                           ❑ Not listed. Explain
         7 Times Square
         New York, NY 10036

 4.24    Wuersch & Gering                                              Line 3.40

         100 Wall Street 10th Floor                                    ❑ Not listed. Explain
         New York, NY 10005




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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $1,574,375.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $238,615,427.34



  5c. Total of Parts 1 and 2                                                       5c.              $240,189,802.34
      Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

 Debtor name                      Prime Capital Ventures, LLC

 United States Bankruptcy Court for the:
                           Northern District of New York

 Case number (if known):                                    Chapter     11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          Prime Capital Ventures, LLC


  United States Bankruptcy Court for the:              Northern           District of        New York
                                                                                        (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                             Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                             Name
                                                                                                                                      that apply:

 2.1     Kris D. Roglieri                    40 North Street                                            Onward Holdings Ltd.          ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G

                                             Queensbury, NY 12804
                                            City                  State                  ZIP Code

 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code




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                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




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 Fill in this information to identify the case:

 Debtor name                                   Prime Capital Ventures, LLC

 United States Bankruptcy Court for the:
                                    Northern District of New York

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                     12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                 $4,023,154.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                  $2,429,076.06
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                  $6,452,230.06




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                  $4,339,525.59


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                     $1,574,375.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +    $238,615,427.34




 4. Total liabilities..............................................................................................................................................................................            $244,529,327.93
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                       page 1
                 Case 24-11029-1-rel                   Doc 1           Filed 09/16/24 Entered 09/16/24 16:43:07                    Desc Main
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 Fill in this information to identify the case:

 Debtor name                         Prime Capital Ventures, LLC

 United States Bankruptcy Court for the:
                           Northern District of New York

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                      Unknown
       fiscal year to filing date:       From 01/01/2024
                                                  MM/ DD/ YYYY
                                                                  to    Filing date
                                                                                         ✔ Other
                                                                                         ❑                                                      Unknown
                                                                                                                                                   $0.00


       For prior year:                   From 01/01/2023          to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                      Unknown
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY   ✔ Other
                                                                                         ❑                                                      Unknown
                                                                                                                                                   $0.00


       For the year before that:         From 01/01/2022          to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                      Unknown
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY   ✔ Other
                                                                                         ❑                                                      Unknown
                                                                                                                                                   $0.00



 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ❑ None
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2024          to    Filing date       Alleged fraudulent activity by the
                                                  MM/ DD/ YYYY                           Debtor                                                 Unknown




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      For prior year:                  From 01/01/2023        to    12/31/2023          Alleged fraudulent activity by the
                                              MM/ DD/ YYYY           MM/ DD/ YYYY       Debtor                                                        Unknown


      For the year before that:        From 01/01/2022        to    12/31/2022          Alleged fraudulent activity by the
                                              MM/ DD/ YYYY           MM/ DD/ YYYY       Debtor                                                        Unknown




 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
         this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
         years after that with respect to cases filed on or after the date of adjustment.)

         ✔ None
         ❑
          Creditor’s name and address                       Dates             Total amount or value           Reasons for payment or transfer
                                                                                                              Check all that apply

 3.1.                                                                                                         ❑ Secured debt
         Creditor's name                                                                                      ❑ Unsecured loan repayments
                                                                                                              ❑ Suppliers or vendors
         Street                                                                                               ❑ Services
                                                                                                              ❑ Other

         City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
         co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
         Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
         relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
         ❑ None
          Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.    Kris D. Roglieri                                   Various                           $0.00           Reasons and amounts not fully known.
         Creditor's name
         40 North Street
         Street



         Queensbury, NY 12804
         City                        State    ZIP Code

          Relationship to debtor

         Statutory insider.




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 4.2.   Tina Roglieri                                 Various                          $0.00          Reasons and amounts not fully known.
        Creditor's name
        O & A Law Firm, 54 State Street
        Street



        Albany, NY 12207
        City                      State   ZIP Code

         Relationship to debtor

        Statutory insider.

 4.3.   Linda Oliver                                  Various                          $0.00          Reasons and amounts not fully known.
        Creditor's name
        11 Hill Top Lane
        Street



        Poughkeepsie, NY 12603
        City                      State   ZIP Code

         Relationship to debtor

        Non-statutory insider.

 4.4.   Prime Commercial Lending, LLC                 Various                          $0.00          Reasons and amounts not fully known.
        Creditor's name
        66 South Pearl Street 10th Floor
        Street



        12207
        City                      State   ZIP Code

         Relationship to debtor

        Non-statutory insider.

 4.5.   CCTG, LLC                                     Various                          $0.00          Commercial Capital Training Group,
        Creditor's name                                                                               LLC. Reasons and amounts not fully
        66 South Pearl Street 10th Floor                                                              known.
        Street



        Albany, NY 12207
        City                      State   ZIP Code

         Relationship to debtor

        Non-statutory insider.

 4.6.   NACLB, LLC                                    Various                          $0.00          National Alliance of Commercial Loan
        Creditor's name                                                                               Brokers, LLC. Reasons and amounts
        50 West 72nd Street Suite C4                                                                  not fully known.
        Street



        New York, NY 10023
        City                      State   ZIP Code

         Relationship to debtor

        Non-statutory insider.




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 4.7.   Shark Ventures, LLC                                 Various                            $0.00            Reasons and amounts not fully known.
        Creditor's name
        PO Box 16270
        Street



        Missoula, MT 59808
        City                        State     ZIP Code

         Relationship to debtor

        Non-statutory insider.

 4.8.   FUPME, LLC                                          Various                            $0.00            Reasons and amounts not fully known.
        Creditor's name
        90 State Street Suite 1500
        Street



        Albany, NY 12207
        City                        State     ZIP Code

         Relationship to debtor

        Non-statutory insider.


 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




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                                                                                           Case number (if known)
             Name
                                                               Document Page 52 of 78
 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        1800 Park Avenue v.                    Adversary Proceeding                   U.S. Bankruptcy Court, NDNY                         ✔ Pending
                                                                                                                                          ❑
        Prime Capital Ventures,                Objecting to                           Name
                                                                                                                                          ❑ On appeal
        LLC, et. al.                           Dischargeability and
                                                                                                                                          ❑ Concluded
                                                                                      445 Broadway Suite 330
                                               Recovery of Funds                      Street

         Case number                                                                  James T. Foley Courthouse
                                                                                      Albany, NY 12207
        24-90008                                                                      City                        State    ZIP Code

 7.2.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Robert Sturm v. Prime                  Breach of Contract                     U.S. District Court, NDNY                           ❑ Pending
        Capital Ventures, LLC                                                         Name
                                                                                                                                          ❑ On appeal
                                                                                      445 Broadway Suite 509
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number
                                                                                      James T. Foley Courthouse
        23-cv-01033                                                                   Albany, NY 12207
                                                                                      City                        State    ZIP Code

 7.3.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Compass-Charlotte 1031,                Breach of Contract                     U.S. District Court, NDNY                           ❑ Pending
        LLC v. Prime Capital                                                          Name
                                                                                                                                          ❑ On appeal
        Ventures, LLC                                                                 445 Broadway Suite 509
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number                                                                  James T. Foley Courthouse
                                                                                      Albany, NY 12207
        23-cv-1588                                                                    City                        State    ZIP Code

 7.4.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Compass-Charlotte 1031,                Breach of Contract and                 U.S. District Court, NDNY                           ✔ Pending
                                                                                                                                          ❑
        LLC v. Prime Capital                   Fraud                                  Name
                                                                                                                                          ❑ On appeal
        Ventures, LLC et. al.
                                                                                                                                          ❑ Concluded
                                                                                      445 Broadway Suite 509
                                                                                      Street

         Case number                                                                  James T. Foley Courthouse
                                                                                      Albany, NY 12207
        24-cv-00055                                                                   City                        State    ZIP Code

 7.5.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Paul A. Levine, as the                 Third party complaint for              U.S. District Court, NDNY                           ✔ Pending
                                                                                                                                          ❑
        Receiver of PCV, LLC v.                frau and recovery of                   Name
                                                                                                                                          ❑ On appeal
        Kris D. Roglieri et. al.               property
                                                                                                                                          ❑ Concluded
                                                                                      445 Broadway Suite 509
                                                                                      Street

         Case number                                                                  James T. Foley Courthouse
                                                                                      Albany, NY 12207
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              Name
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 7.6.     Case title                        Nature of case                    Court or agency's name and address              Status of case

         Prime Capital Ventures,        Breach of Contract                   U.S. District Court, NDNY                        ✔ Pending
                                                                                                                              ❑
         LLC v. Reign Financial                                              Name
                                                                                                                              ❑ On appeal
         International, Inc., et. al.
                                                                                                                              ❑ Concluded
                                                                             445 Broadway Suite 509
                                                                             Street

          Case number                                                        James T. Foley Courthouse
                                                                             Albany, NY 12207
         23-cv-00207                                                         City                      State       ZIP Code

 7.7.     Case title                        Nature of case                    Court or agency's name and address              Status of case

         B and R Aquisition             Breach of Contract                   Commonwealth of Virginia                         ❑ Pending
         Partners LLC et. al. v.                                             Name
                                                                                                                              ❑ On appeal
         Prime Capital Ventures,
         LLC
                                                                             1111 East Broad Street
                                                                             Street
                                                                                                                              ✔ Concluded
                                                                                                                              ❑

          Case number                                                        Richmond, VA 23219
                                                                             City                      State       ZIP Code
         900844-24
 7.8.     Case title                        Nature of case                    Court or agency's name and address              Status of case

         Truss Financial LLC v.         Breach of Contract                   NYS Supreme Court, Kings County                  ❑ Pending
         Prime Capital Ventures,                                             Name
                                                                                                                              ❑ On appeal
         LLC                                                                 360 Adams Street #4
                                                                             Street
                                                                                                                              ✔ Concluded
                                                                                                                              ❑
          Case number
                                                                             New York, NY 10007
         510389/2023                                                         City                      State       ZIP Code

 7.9.     Case title                        Nature of case                    Court or agency's name and address              Status of case

         ER Tennessee LLC v.            Breach of Contract                   NYS Supreme Court, County of New                 ✔ Pending
                                                                                                                              ❑
         Prime Capital Ventures,                                             York
                                                                             Name
                                                                                                                              ❑ On appeal
         LLC et. al.
                                                                             60 Centre Street                                 ❑ Concluded
                                                                             Street
          Case number

         650231/2024                                                         New York, NY 10007
                                                                             City                      State       ZIP Code

 7.10.    Case title                        Nature of case                    Court or agency's name and address              Status of case

         Caruso Home Builders,          Breach of Contract                   NYS Supreme Court, Saratoga County               ✔ Pending
                                                                                                                              ❑
         LLC et. al. v. Prime Capital                                        Name
                                                                                                                              ❑ On appeal
         Ventures, LLC
                                                                                                                              ❑ Concluded
                                                                             30 McMaster Street #1
                                                                             Street

          Case number
                                                                             Ballston Spa, NY 12020
         EF2024312                                                           City                      State       ZIP Code

 7.11.    Case title                        Nature of case                    Court or agency's name and address              Status of case

         Onward Holding, LLC v.         Breach of Contract                   U.S. District Court, Central District of         ❑ Pending
         Prime Capital Ventures,                                             Utah
                                                                             Name
                                                                                                                              ❑ On appeal
         LLC et. al.
                                                                             351 S W Temple Street
                                                                                                                              ✔ Concluded
                                                                                                                              ❑
                                                                             Street
          Case number

         23-cv-00833                                                         Salt Lake City, UT 84101
                                                                             City                      State       ZIP Code




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 7.12.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         Camshaft CRE 1, LLC v.                 Breach of Contract                     Eleventh Judicial Circuit of Florida                ✔ Pending
                                                                                                                                           ❑
         Prime Capital Ventures,                                                       Name
                                                                                                                                           ❑ On appeal
         LLC
                                                                                                                                           ❑ Concluded
                                                                                       73 West Flagler Street
                                                                                       Street

          Case number
                                                                                       Miami, FL 33130
         2023-023173-CA-01                                                             City                            State   ZIP Code

 7.13.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         526 Murfreesboro, LLC v.               Breach of Contract                     U.S. District Court, MD of Tennessee                ❑ Pending
         Prime Capital Ventures,                                                       Name
                                                                                                                                           ❑ On appeal
         LLC                                                                           719 Church Street
                                                                                       Street
                                                                                                                                           ✔ Concluded
                                                                                                                                           ❑
          Case number                                                                  Fred. D. Thompson U.S. Courthouse
                                                                                       Nashville, TN 37203
         2023-cv-01239                                                                 City                            State   ZIP Code

 7.14.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         The Lion Group DFW LLC                 Breach of Contract                     146th District Court Bell County, TX                ❑ Pending
         v. Prime Capital Ventures,                                                    Name
                                                                                                                                           ❑ On appeal
         LLC                                                                           121 Huey Road
                                                                                       Street
                                                                                                                                           ✔ Concluded
                                                                                                                                           ❑
          Case number                                                                  Bell County Justice Center
                                                                                       Belton, TX 76513
         23DCV341617                                                                   City                            State   ZIP Code

 7.15.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

         In re Prime Capital                    Dismissal of bankruptcy                U.S. Bankruptcy Court, NDNY                         ❑ Pending
         Ventures, LLC                          case.                                  Name
                                                                                                                                           ✔ On appeal
                                                                                                                                           ❑
                                                                                                                                           ❑ Concluded
                                                                                       445 Broadway Suite 330
                                                                                       Street
          Case number
                                                                                       James T. Foley Courthouse
         24-10531                                                                      Albany, NY 12207
                                                                                       City                            State   ZIP Code



 8.      Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
         receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ❑ None
 8.1.     Custodian’s name and address                     Description of the property                         Value

         Paul A. Levine, Receiver                         Real and personal property (amounts                                                             $0.00
         Custodian’s name                                 and values unknown)
         677 Broadway 8th Floor                                                                                Court name and address
         Street                                            Case title
                                                                                                              United States District Court, NDNY
         c/o Lemery Greisler, LLP                                                                             Name
                                                          Compass-Charlotte 1031, LLC v. Prime
         Albany, NY 12207                                 Capital Ventures, LLC et. al.                       445 Broadway
         City                        State    ZIP Code                                                        Street
                                                           Case number                                        James Foley Courthouse
                                                          24-cv-00055                                         Albany, NY 12207
                                                                                                              City                        State    ZIP Code
                                                           Date of order or assignment

                                                          01/24/2024



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 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ❑ None
 9.1.     Recipient’s name and address                     Description of the gifts or contributions             Dates given               Value

         Kris D. Roglieri                                 Debtor made payments for items/services               Various                                 $0.00
         Recipient’s name                                 tendered to the member. Amounts not fully
         40 North Street                                  known.
         Street



         Queensbury, NY 12804
         City                       State      ZIP Code


          Recipient’s relationship to debtor

         Member

 9.2.     Recipient’s name and address                     Description of the gifts or contributions             Dates given               Value

         Tina Roglieri                                    Reasons and amounts not fully known.                  Various                                 $0.00
         Recipient’s name
         O & A Law Firm 54 State Street
         Street



         Albany, NY 12207
         City                       State      ZIP Code


          Recipient’s relationship to debtor

         Spouse

 9.3.     Recipient’s name and address                     Description of the gifts or contributions             Dates given               Value

         Linda Oliver                                     Reasons and amounts not fully known.                  Various                                 $0.00
         Recipient’s name
         10 Hill Top Lane
         Street



         Poughkeepsie, NY 12603
         City                       State      ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the        Amount of payments received for the loss                     Date of loss     Value of property
           loss occurred                                       If you have received payments to cover the loss, for                          lost
                                                               example, from insurance, government compensation,
                                                               or tort liability, list the total received.
                                                               List unpaid claims on Official Form 106A/B (Schedule
                                                               A/B: Assets – Real and Personal Property).


 10.1.




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                                                                                             Case number (if known)
                  Name
                                                                 Document Page 56 of 78
 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Bond, Schoeneck & King, PLLC                                                                                     5/14/2024                   $60,506.50

          Address                                                                                                         5/13/2024                   $39,493.50

         One Lincoln Center
         Street



         Syracuse, NY 13202
         City                        State    ZIP Code


          Email or website address

         www.bsk.com

          Who made the payment, if not debtor?

         Paul A. Levine, Esq., Receiver of Prime
         Capital Ventures, LLC

 11.2.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Hogan Lovells US LLP                                                                                             Various                   $450,000.00

          Address

         390 Madison Avenue
         Street



         New York, NY 10017
         City                        State    ZIP Code


          Email or website address

         https://www.hoganlovells.com/

          Who made the payment, if not debtor?

         Roglieri, CCTG, NACLB




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 11.3.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Cullen and Dykman                                                                                              12/27/2023                  $75,000.00

          Address

         One Battery Park Plaza 34th Floor
         Street



         New York, NY 10004
         City                        State    ZIP Code


          Email or website address

         https://www.cullenllp.com/

          Who made the payment, if not debtor?

         Roglieri, PCL, and/or Debtor




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None




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Debtor
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                Name
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 13.1.    Who received the transfer?                    Description of property transferred or payments           Date transfer   Total amount or
                                                        received or debts paid in exchange                        was made        value

         Christian H. Dribusch                         Payment per U.S. Bankruptcy Court Order                   4/1/2024              $39,591.38
                                                       authorizing payment of Interim Chapter 7
          Address
                                                       Trustee in the Involuntary Bankruptcy
                                                       Proceeding of Prime Capital Ventures, LLC
         187 Wolf Road Suite 300-20                    which case was dismissed per United States
         Street                                        Bankruptcy Court Order.


         Albany, NY 12207
         City                      State   ZIP Code


          Relationship to debtor

         Interim Trustee of Involuntary
         Bankruptcy Case

 13.2.    Who received the transfer?                    Description of property transferred or payments           Date transfer   Total amount or
                                                        received or debts paid in exchange                        was made        value

         Lemery Greisler, LLC                          Services by receiver and law firm.                        3/21/2024;           $268,174.22
                                                                                                                 4/23/2024;
          Address
                                                                                                                 5/13/2024

         677 Broadway 8th Floor
         Street
         c/o Lemery Greisler, LLP
         Albany, NY 12207
         City                      State   ZIP Code


          Relationship to debtor

         Receiver appointed by the United
         States District Court, NDNY

 13.3.    Who received the transfer?                    Description of property transferred or payments           Date transfer   Total amount or
                                                        received or debts paid in exchange                        was made        value

         BST & Co. CPAs, LLC                           Financial services to the receiver.                       3/21/2024;            $84,830.00
                                                                                                                 4/23/2024;
          Address
                                                                                                                 5/13/2024

         10 British American Boulevard
         Street



         Latham, NY 12110
         City                      State   ZIP Code


          Relationship to debtor

         Retained by the Receiver to provide
         financial services




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                Name
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 13.4.    Who received the transfer?                          Description of property transferred or payments           Date transfer   Total amount or
                                                              received or debts paid in exchange                        was made        value

         Recipients                                          The Debtor engaged in alleged Ponzi type                  Various                (Unknown)
                                                             transactions resulting in transfers which may
          Address
                                                             be avoidable or subject to other claims.


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                           Dates of occupancy

 14.1. 66 State Street 10th Floor                                                                          From    2021             To 2024
         Street



         Albany, NY 12207
         City                        State       ZIP Code



 14.1. 40 North Street                                                                                     From    2021             To 2024
         Street
         Attn: Kris D. Roglieri
         Queensbury, NY 12804
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




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                  Name
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          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                           Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State     ZIP Code                                                                              Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

 18.1    KeyBank National Association                       XXXX–                       ✔ Checking
                                                                                        ❑                            6/2024                   $2,000.00
         Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
         95 Wolf Road
         Street
                                                                                        ❑ Brokerage
         Albany, NY 12205
                                                                                        ❑ Other
         City                       State   ZIP Code



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 18.2   M&T Bank                                          XXXX– 6 6 0 7                 ✔ Checking
                                                                                        ❑                                                      $0.00
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        80 State Street
        Street
                                                                                        ❑ Brokerage
        Albany, NY 12207
                                                                                        ❑ Other
        City                      State   ZIP Code

 18.3   RBC Capital Markets, LLC                          XXXX– 0 0 1 7                 ❑ Checking                   02/07/2024                $1,248,369.84
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        250 Nicollet Mall Suite 1400
        Street
                                                                                        ✔ Brokerage
                                                                                        ❑
        Minneapolis, MN 55401
                                                                                        ❑ Other
        City                      State   ZIP Code

 18.4   Farmers State Bank                                XXXX–                         ✔ Checking
                                                                                        ❑                            02/01/2024                $29,607.82
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        220 S. Detroit Street
        Street
                                                                                        ❑ Brokerage
        Lagrange, IN 46761
                                                                                        ❑ Other
        City                      State   ZIP Code

 18.5   Interactive Brokers, LLC                          XXXX– 0 0 9 5                 ❑ Checking                   02/13/2024                $325,004.98
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
        1 Pickwick Plaza
        Street
                                                                                        ✔ Brokerage
                                                                                        ❑
        Greenwich, CT 06830
                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ❑ None
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

        1st National Bank of Scotia                      Paul A. Levine, Esq. Receiver                Richard Mille Skull Watch
                                                                                                                                                 ❑ No
                                                                                                                                                 ✔ Yes
                                                                                                                                                 ❑
        Name
        1705 Central Avenue
        Street


                                                          Address
        Albany, NY 12205
        City                      State   ZIP Code       677 Broadway 8th Floor
                                                         Albany, NY 12207
 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ❑ None




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                  Name
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 20.1     Facility name and address                              Names of anyone with access to it         Description of the contents             Does debtor
                                                                                                                                                   still have it?

         Kris D. Roglieri                                      Chapter 7 Trustee to the Bankruptcy        Some business records located at
                                                                                                                                                  ❑ No
                                                                                                                                                  ✔ Yes
                                                                                                                                                  ❑
         Name
                                                               Estate of Kris D. Roglieri                 the residence of former member
         40 North Street
         Street                                                                                           Kris D. Roglieri.

                                                                 Address
         Queensbury, NY 12804
         City                      State     ZIP Code          187 Wolf Road Suite 300-20
                                                               Albany, NY 12205



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                    Description of the property              Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                      Nature of the case                        Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                                                                                                                        ❑ Concluded
                                                        Street




                                                        City                           State   ZIP Code




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                  Name
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 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed

         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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           Name and address                                                                                Dates of service

 26a.1. Sardone, Robinson & Associates, CPAs
                                                                                                          From                To
          Name
          115 Metro Park
          Street



          Buffalo, NY 14263
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26a.2. BST & Co. CPAs, LLC                                                                               From 2/9/2024       To Present
          Name
          10 British American Boulevard
          Street



          Latham, NY 12110
          City                                      State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                Dates of service

 26b.1. BST & Co. CPAs, LLC                                                                               From 2/9/2024       To Present
          Name
          10 British American Boulevard
          Street



          Latham, NY 12110
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26b.2. Sardone, Robinson & Associates, CPAs                                                              From 2/9/2024       To Present
          Name
          115 Metro Park
          Street



          Rochester, NY 14623
          City                                      State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                If any books of account and records are
                                                                                                           unavailable, explain why
 26c.1.
          BST & Co. CPAs, LLC
          Name
          10 British American Boulevard
          Street



          Latham, NY 12110
          City                                      State                  ZIP Code




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            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.2.
           Paul A. Levine, Esq., Receiver
           Name
           677 Broadway 8th Floor
           Street



           Albany, NY 12207
           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.

           Name


           Street




           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.

          Name


          Street




          City                                      State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                           Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Bk. Est. of Kris D.             187 Wolf Road Albany, NY 12205                                Member, Single Member                          100.00%
         Roglieri                                                                                      LLC

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑ No
         ✔ Yes. Identify below.
         ❑



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         Name                                Address                                                  Position and nature of any      Period during which
                                                                                                      interest                        position or interest was
                                                                                                                                      held

     Kris D. Roglieri                       40 North Street Queensbury, NY 12804                     Member, Single Member             From 2021
                                                                                                     LLC                               To   2/28/2024

30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
     credits on loans, stock redemptions, and options exercised?
     ❑ No
     ✔ Yes. Identify below.
     ❑
         Name and address of recipient                                            Amount of money or description          Dates             Reason for providing
                                                                                  and value of property                                     the value


30.1. Kris D. Roglieri                                                                                     Unknown       Various           Distributions
     Name                                                                                                                                  received by Kris
     40 North Street                                                                                                                       D. Roglieri as the
     Street                                                                                                                                controlling
                                                                                                                                           member of the
                                                                                                                                           Debtor.
     Queensbury, NY 12804
     City                                            State         ZIP Code


         Relationship to debtor

     Former member of the Debtor

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑ Yes. Identify below.
            Name of the parent corporation                                                           Employer Identification number of the parent corporation

                                                                                                    EIN:        –


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑ Yes. Identify below.
            Name of the pension fund                                                                 Employer Identification number of the pension fund

                                                                                                    EIN:        –



Part 14: Signature and Declaration


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
   correct.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on          09/16/2024
                     MM/ DD/ YYYY




   ✘ /s/ Christian H. Dribusch                                            Printed name                Christian H. Dribusch
         Signature of individual signing on behalf of the debtor



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      Position or relationship to debtor     Manager



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF NEW YORK
                                                            ALBANY DIVISION

IN RE: Prime Capital Ventures, LLC                                                    CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     09/16/2024             Signature                            /s/ Christian H. Dribusch
                                                                     Christian H. Dribusch, Manager
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                                 1800 Park Avenue LLC
                                 1800 Park Avenue East
                                 Renville, MN 56284




                                 526 Murfreesboro, LLC
                                 526 Murfreesboro Pike
                                 Nashville, TN 37217




                                 Ainsworth Gorkin PLLC
                                 111 John Street Suite 1210
                                 New York, NY 10038




                                 Apartment Worth, LLC
                                 845 15th Street Suite 103
                                 San Diego, CA 92101




                                 B and R Acquisition Partners
                                 LLC
                                 PO Box 1
                                 Essex, MO 63846



                                 Balch & Bingham, LLP
                                 188 East Capitol Street Suite 1400
                                 Jackson, MS 39201




                                 Barclay Damon LP
                                 125 E. Jefferson Street
                                 Syracuse, NY 13202




                                 Berone Capital Fund, L.P.
                                 3595 Canton Road
                                 Marietta, GA 30066
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                                 Bond Schoeneck & King, PLLC
                                 Attn: Stephen Donato, Esq.
                                 One Lincoln Center
                                 Syracuse, NY 13202



                                 Bradley, LLP
                                 Attn: Patrick Everman
                                 188 E. Capitol Street Suite 1000
                                 Jackson, MS 39201



                                 Brightsmith Tulsa LLP
                                 1821 N. Collins Avenue
                                 Okmulgee, OK 74447




                                 Buchalter, P.C.
                                 60 E. So. Temple Suite 1200
                                 Salt Lake City, UT 84111




                                 CAC Realty LLC
                                 3 Kelton Place
                                 Englishtown, NJ 07726




                                 Camshaft CRE 1 LLC
                                 16850 Collins Avenue #112408
                                 North Miami Beach, FL 33160




                                 Camshaft CRE 1 LLC
                                 950 Brickell Bay Dr. Suite 5107
                                 Miami, FL 33131




                                 Caruso Home Builders, LLC
                                 19 Railroad Place Suite 201
                                 Saratoga Springs, NY 12866
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                                 CBL Investments LLC
                                 CBL Center, Suite 500
                                 2030 Hamilton Place Blvd.
                                 Chattanooga, TN 37421



                                 Certilman Balin
                                 Attn: Robert Nosek
                                 90 Merrick Avenue
                                 East Meadow, NY 11554



                                 Chapman and Cutler
                                 Attn: Joseph P. Lombardo
                                 320 South Canal Street 27th Floor
                                 Chicago, IL 60609



                                 Chapman and Cutler LLP
                                 1270 Avenue of the Americas
                                 New York, NY 10020




                                 CHDB Law LLP
                                 Attn: Chad Meisen
                                 1400 E. Southern Avenue Suite 400
                                 Tempe, AZ 85282



                                 Commercial Capital BIDCO
                                 256 Seaboard Lane Suite 101 B
                                 Franklin, TN 37067




                                 Commercial Capital Bond
                                 133 Holiday Court #207
                                 Franklin, TN 37067




                                 Compass-Charlotte 1031, LLC
                                 631 Dickenson Avenue
                                 Greenville, NC 27834
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                                 CoNestions Medical, Inc.
                                 150 N Wright Brothers Drive
                                 Salt Lake City, UT 84116




                                 Cullen and Dykman
                                 One Battery Park Plaza 34th Floor
                                 New York, NY 10004




                                 Eagle Rose Inc.
                                 4500 Eldorado Parkway
                                 Mckinney, TX 75070




                                 ER Tennessee LLC
                                 381 Park Avenue Suite 1101
                                 New York, NY 10016




                                 Girvin & Ferlazzo, PC
                                 20 Corporate Woods Boulevard
                                 Albany, NY 12211




                                 Goose Creek Apartments
                                 900 Channing Way
                                 Goose Creek, SC 29445




                                 Gray Robinson, P.A.
                                 Steven J. Solomon
                                 333 SE 2nd Ave. Suite 3200
                                 Miami, FL 33131



                                 Harris Beach PLLC
                                 Attn: Brian Roy
                                 333 W. Washington Street Suite 200
                                 Syracuse, NY 13202
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                                 HCW Biologics Inc.
                                 3300 Corporate Way
                                 Hollywood, FL 33025




                                 Hogan Lovells US LLP
                                 390 Madison Avenue
                                 New York, NY 10017




                                 Hudson & Hudson LLC
                                 206 West College Street Suite 12
                                 Carbondale, IL 62901




                                 Indigo Pharmaceutical LLC
                                 270 South Martin Luther King Blvd.
                                 Las Vegas, NV 89106




                                 Internal Revenue Service
                                 Bankruptcy
                                 P.O. Box 7346
                                 Philadelphia, PA 19101-7346



                                 JHM Lending Ventures LLC
                                 4529 Wayland Drive
                                 Nashville, TN 37215




                                 JHM Lending Ventures, LLC
                                 1457 Medinah Lane
                                 Murrells Inlet, SC 29576




                                 Keeler Mercedes Benz
                                 1111 Troy Schenectady Road
                                 Latham, NY 12110
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                                 Ketan Masters
                                 2601 Oates Lane
                                 Arlington, TX 76006




                                 Kris D. Roglieri
                                 40 North Street
                                 Queensbury, NY 12804




                                 Kye Law Group, P.C.
                                 201 Old Country Road Suite 120
                                 Melville, NY 11747




                                 Lofts Phases 2 & 3 LLC
                                 9033 East Easter Place Suite 112
                                 Englewood, CO 80112




                                 Motos America Inc.
                                 3131 W. 2210 S.
                                 West Valley City, UT 84119




                                 Newlight Technologies, Inc.
                                 14382 Astronautics Drive
                                 Huntington Beach, CA 92647




                                 Nixon Peabody LLP
                                 Attn: Christopher Desiderio
                                 55 W 46th Street
                                 New York, NY 10036



                                 Nolan Heller Kaufman LLP
                                 80 State Street 11th Floor
                                 Albany, NY 12207
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                                 NYS Deptment of Taxation &
                                 Finance
                                 Bankruptcy Section
                                 PO Box 5300
                                 Albany, NY 12202


                                 Onward Holdings Ltd.
                                 5152 N. Edgewood Drive Suite 375
                                 Provo, UT 84604




                                 Parker Poe
                                 620 South Tryon Street Suite 800
                                 Charlotte, NC 28202




                                 Paul A. Levine, Receiver
                                 c/o Lemery Greisler, LLP
                                 677 Broadway 8th Floor
                                 Albany, NY 12207



                                 Piper Capital Funding LLC
                                 95 Fairway Drive
                                 Harrisburg, IL 62946




                                 Prime Capital Ventures, LLC
                                 Attn: Manager
                                 187 Wolf Road Suite 300-20
                                 Albany, NY 12205-1138



                                 PTR Prime LLC
                                 1501 S. Mopac Expressway Suite 220
                                 Austin, TX 78746




                                 Redeem - 18 S Main LLC
                                 1779 Wells Branch Parkway Suite
                                 110B-371
                                 Austin, TX 78727
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                                 Redeem - Temple Courtyard
                                 LLC
                                 1779 Wells Branch Parkway Suite
                                 110B-371
                                 Austin, TX 78728


                                 Sage Estate Malta, LLC
                                 19 Railroad Pl Ste 201
                                 Saratoga Spgs, NY 12866-2318




                                 Scott and Mary Lee Wallick
                                 1800 N. Collins Avenue
                                 Okmulgee, OK 74447




                                 Seyburn Law PLLC
                                 7475 Franklin Road
                                 Bloomfield Hills, MI 48301




                                 Sheppard Mullin Richter &
                                 Hampton LLP
                                 333 South Hope Street 43rd Floor
                                 Los Angeles, CA 90071



                                 Solray Inc.
                                 345 Highway 9 South Suite 388
                                 Englishtown, NJ 07726




                                 SP Harbor QOZB LP
                                 550 West B Street 4th Floor
                                 San Diego, CA 92101




                                 Spotts Fain PC
                                 411 East Franklin Street Suite 600
                                 Richmond, VA 23219
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                                 SQRL Holdings, LLC
                                 27 Rahling Circle Suite C
                                 Little Rock, AR 72223




                                 SRA - CH Richard I LLC
                                 4505 Pacific Highway East Suite C-2
                                 Fife, WA 98424




                                 Starsight IO, Inc.
                                 4425 Fortran Drive Suite F
                                 San Jose, CA 95134




                                 The Pecora LLC
                                 199 Lee Avenue #745
                                 Brooklyn, NY 11211




                                 The Wallick Family 2022 Trust
                                 PO Box 267
                                 Okmulgee, OK 74447




                                 Toro Real Estate Partners
                                 410 Jericho Turnpike Suite 220
                                 Jericho, NY 11753




                                 Truss Financial LLC
                                 4500 West Nyack Road Suite 310
                                 West Nyack, NY 10994




                                 Virginia Beach City Treasurer
                                 Municipal Center, Building 1
                                 2401 Courthouse Drive
                                 Virginia Beach, VA 23456
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                                 Watermark Capital Group
                                 185 Marcy Avenue
                                 Brooklyn, NY 11211




                                 White and Williams
                                 Attn: Travis Powers
                                 7 Times Square
                                 New York, NY 10036



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